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                                      ORDERED.
     Dated: July 06, 2020




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In Re:                                                      Case No. 6:18-bk-06821-KSJ
                                                            Chapter 7
DON KARL JURAVIN

                   Debtor.
____________________________________/

       AMENDED ORDER APPROVING TRUSTEE'S APPLICATION FOR
   AUTHORITY TO EMPLOY RYAN LAW GROUP, PLLC AS SPECIAL COUNSEL

         THIS CASE came on for hearing on June 25, 2020 at 10:00 a.m., on the Trustee's

Application for Authority to Employ Ryan Law Group, PLLC as Special Counsel ("Application")

(Doc. No. 346) and the Objection to Trustee’s Application for Authority to Employ Ryan Law

Group, PLLC as Special Counsel (Doc. No. 347) filed by the Debtor. After considering the

Application and the arguments of counsel and being otherwise fully advised in the premises, it is

         ORDERED:

         1.     The Application (Doc. No. 346) is APPROVED.

         2.     The Trustee is authorized to employ James D. Ryan and the firm of Ryan Law

Group, PLLC as special counsel, pursuant to the terms of the Application.
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       3.      The contingency compensation arrangement is approved pursuant to Section 328

of the Bankruptcy Code. Compensation will be determined later in accordance with 11 U.S.C. §

330. No payment whatsoever shall be made to the attorney absent application and order.



Bradley M. Saxton is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




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